       Case 2:22-cr-00071-TOR         ECF No. 18   filed 08/05/22   PageID.40 Page 1 of 2


                                                                                   FILED IN THE
                                                                               U.S. DISTRICT COURT
1                                                                        EASTERN DISTRICT OF WASHINGTON




2                         UNITED STATES DISTRICT COURT
                                                                          Aug 05, 2022
                                                                              SEAN F. MCAVOY, CLERK


3                       EASTERN DISTRICT OF WASHINGTON

4    UNITED STATES OF AMERICA,                         No. 2:22-CR-0071-TOR-1

5                        Plaintiff,                    ORDER FOLLOWING INITIAL
                                                       APPEARANCE AND
6                        v.                            ARRAIGNMENT

7    DAVID NABIEL AKHDARY,

8                        Defendant.

9          On Friday, August 05, 2022, Defendant made an initial appearance and was

10   arraigned based on the Indictment (ECF No. 6). Defendant was represented by

11   court-appointed attorney Bryan P. Whitaker. Assistant United States Attorney

12   Patrick Cashman represented the United States. With Defendant’s consent,

13   Defendant appeared by video from Spokane.

14         Defendant was advised of and acknowledged his rights.

15         The Court entered a plea of not guilty on Defendant’s behalf.

16         A member of the Criminal Justice Act Panel was previously appointed to

17   represent Defendant and that appointment was affirmed.

18         The Court directs the parties to review the Local Criminal Rules governing

19   discovery and other issues in this case. http://www.waed.uscourts.gov/court-

20   info/local-rules-and-orders/general-orders.



     ORDER - 1
       Case 2:22-cr-00071-TOR     ECF No. 18    filed 08/05/22   PageID.41 Page 2 of 2




1          Pursuant to Fed. R. Crim. P. 5(f) and LCrR 16(a)(6), at arraignment or

2    within 14 days thereafter, the Government is required to disclose evidence

3    favorable to the defendant and material to the defendant’s guilt or punishment to

4    which defendant is entitled pursuant to Brady v. Maryland, 373 U.S. 83 (1963) and

5    its progeny. This is a continuing duty for newly discovered evidence. LCrR 16(c).

6    Pursuant to Fed. R. Crim. P. 16(d)(2), failure to comply may result in an order

7    permitting the discovery or inspection; granting a continuance; or any other order

8    that is just under the circumstances (including sanctions, dismissal, exclusion of

9    evidence or witnesses).

10         A detention hearing was set before Magistrate Judge Goeke in Spokane,

11   Washington, on Thursday, August 11, 2022, at 1:30 PM. Pending the hearing,

12   Defendant shall be detained in the custody of the United States Marshal and

13   produced for the hearing.

14         IT IS SO ORDERED.

15         DATED August 5, 2022.
16
                                  _____________________________________
17                                      ALEXANDER C. EKSTROM
                                   UNITED STATES MAGISTRATE JUDGE
18

19

20



     ORDER - 2
